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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued January 10, 2025               Decided April 25, 2025

                                    No. 23-7173

                                 DAVID O'CONNELL,
                                    APPELLEE

                                          v.

                UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                                 APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:20-cv-01365)



                Daniel H. Blomberg argued the cause for appellant. With
            him on the briefs were Kevin T. Baine, Emmet T. Flood, Laura
            Wolk Slavis, Colten L. Stanberry, Kelly R. Oeltjenbruns, and
            Kelsey Baer Flores. Mark S. Storslee entered an appearance.

                Daniel F. Mummolo, Christopher G. Michel, and Rachel
            G. Frank were on the brief for amicus curiae Federal Courts
            Professor Derek T. Muller in support of appellant.

                 Aaron M. Streett and Matthew M. Hilderbrand were on the
            brief for amicus curiae Dr. Lael Weinberger in support of
            appellant.
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                Michael J. Showalter, Victoria N. Lynch-Draper, and Joel
            S. Nolette were on the brief for amici curiae Seven Religious
            Organizations in support of appellant.

                Thomas G. Hungar, Russell B. Balikian, and Cameron J.
            E. Pritchett were on the brief for amici curiae Law & Religion
            Scholars in support of appellant.

                 Gabriel Z. Doble argued the cause for appellee. With him
            on the brief were Martin Woodward and Simon C. Franzini.

                 Jenny Samuels and Alex J. Luchenitser were on the brief
            for amicus curiae Americans United for Separation of Church
            and State in support of appellee.

                Before: SRINIVASAN, Chief Judge, CHILDS, Circuit Judge,
            and EDWARDS, Senior Circuit Judge.

               Opinion for the Court filed by Senior Circuit Judge
            EDWARDS.

                 EDWARDS, Senior Circuit Judge: This case involves an
            action by Appellee, David O’Connell, against Appellant,
            United States Conference of Catholic Bishops (“USCCB”), for
            fraudulent solicitation of donations. In his complaint,
            O’Connell claims that, at the urging of USCCB, he and others
            donated money to Peter’s Pence Collection for the purported
            purpose of helping those in immediate need of assistance in
            disaster-stricken parts of the world. O’Connell contends,
            however, that USCCB fraudulently concealed that most of the
            donations to Peter’s Pence were not for victims of war,
            oppression, natural disaster, or disease, as he and others
            allegedly had been told. Rather, according to O’Connell, most
            of the donated money was “diverted into various suspicious
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            investment funds, which in turn have funneled the money into
            such diverse ventures as luxury condominium developments
            and Hollywood movies while paying fund managers hefty,
            multi-million dollar commissions.” Complaint ¶ 4.

                 Before discovery and trial, USCCB moved to dismiss the
            case in District Court. USCCB contended that the court had no
            subject matter jurisdiction because O’Connell’s action was
            barred by the church autonomy doctrine. Without in any way
            addressing the merits of the parties’ claims, the District Court
            denied the motion to dismiss. The court found that, at this stage
            of the litigation, O’Connell’s claims raised a purely secular
            dispute that could be resolved according to neutral principles
            of law. However, the District Court made it clear to the parties
            that it could not and would not address purely religious
            questions, should they arise during litigation. Thereafter, rather
            than proceeding with trial, USCCB filed an appeal with this
            court seeking interlocutory review. For the reasons explained
            below, we dismiss this appeal for want of jurisdiction and
            remand the case to the District Court for further proceedings.

                 Section 1291 of the Judicial Code confers on federal courts
            of appeals jurisdiction to review “final decisions of the district
            courts.” 28 U.S.C. § 1291. “A ‘final decisio[n]’ is typically one
            ‘by which a district court disassociates itself from a case.’”
            Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009)
            (alteration in original) (quoting Swint v. Chambers Cnty.
            Comm’n, 514 U.S. 35, 42 (1995)). The collateral order
            doctrine, however, provides a limited exception to this final
            decision rule for a “small class” of collateral rulings that,
            although they do not end the litigation, are appropriately
            deemed “final.” Cohen v. Beneficial Indus. Loan Corp., 337
            U.S. 541, 546 (1949). This “small category includes only
            decisions that are [1] conclusive, [2] that resolve important
            questions separate from the merits, and [3] that are effectively
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            unreviewable on appeal from the final judgment in the
            underlying action.” Swint, 514 U.S. at 42 (citation omitted).
            The Supreme Court has made it clear that these requirements
            are stringent. Will v. Hallock, 546 U.S. 345, 349 (2006). The
            Court has also stressed the importance of the third Cohen
            requirement, i.e., a decision that can be effectively reviewed on
            appeal is not covered by the collateral order doctrine. See, e.g.,
            Mohawk Indus., 558 U.S. at 107-08. The Court has openly
            acknowledged that many trial court rulings “may burden
            litigants in ways that are only imperfectly reparable by
            appellate reversal of a final district court judgment.” Digit.
            Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863, 872 (1994)
            (citations omitted). Nevertheless, the Court has been resolute
            in saying that “the mere identification of some interest that
            would be ‘irretrievably lost’ has never sufficed to meet the third
            Cohen requirement.” Id. (quoting Richardson-Merrell Inc. v.
            Koller, 472 U.S. 424, 431 (1985)).

                 USCCB attempts to bring a collateral order appeal to
            challenge the District Court’s order denying its motion to
            dismiss based on the church autonomy doctrine. The church
            autonomy doctrine protects against government interference in
            matters of faith, doctrine, and internal management. It may be
            raised as a defense in a civil suit, but it does not immunize
            religious organizations from civil actions. Pleading-stage
            denials of a church autonomy defense, such as the contested
            motion to dismiss in this case, do not satisfy the strict
            requirements of the collateral order doctrine. They are neither
            conclusive nor separate from the merits and, most importantly,
            they can be reviewed upon post-judgment appeal.

                 Neither the Supreme Court nor any circuit has ever
            expanded the collateral order doctrine to categorically cover
            alleged denials of a church autonomy defense. This is hardly
            surprising. The limited scope of the collateral order doctrine
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            reflects a healthy respect for the virtues of the final decision
            rule, which serves as an important safeguard against piecemeal
            and premature review. USCCB’s claimed rights can be
            adequately addressed on appeal after the District Court issues
            a final decision and, therefore, are not eligible for collateral
            order appeal.

                                   I. BACKGROUND

               A. Factual and Procedural History

                 Appellant USCCB, headquartered in Washington, D.C., is
            an organization of Roman Catholic Bishops serving the United
            States and the U.S. Virgin Islands. As part of its mission to
            support the work of the Catholic Church, USCCB oversees the
            promotion of the Peter’s Pence Collection, an annual offering
            given by the Catholic faithful to the Pope. Complaint ¶ 18-19.
            Specifically, USCCB creates materials, such as letters, web
            ads, and posters, promoting the Collection which can then be
            used in parishes and dioceses. Id. ¶ 20.

                 Appellee David O’Connell donated to Peter’s Pence at a
            Rhode Island church in the summer of 2018. Id. ¶ 34. On
            January 22, 2020, O’Connell filed a class action complaint in
            federal district court against USCCB, asserting claims of fraud,
            unjust enrichment, and breach of fiduciary duty. He seeks to
            represent a class of all persons in the United States who have
            donated money to the Peter’s Pence Collection. O’Connell
            initially sued USCCB in the U.S. District Court for the District
            of Rhode Island. On USCCB’s motion, the case was transferred
            to the U.S. District Court for the District of Columbia.

                 According to O’Connell, he was led to believe by USCCB
            that his donations to Peter’s Pence would be used only “for
            emergency assistance” to “the poor” and “victims of war,
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            oppression, natural disaster, or disease throughout the world.”
            Id. ¶¶ 35-36, 48. However, in 2019, news organizations
            published stories revealing that Peter’s Pence funds were used
            to support the Vatican’s administrative budget, placed in
            various investments including Hollywood films and real estate,
            or used to pay hefty commissions for fund managers, with only
            ten percent going to the charitable causes featured in USCCB’s
            promotional materials. Id. ¶¶ 27-30. O’Connell alleges that
            “USCCB has always known the difference between a donation
            for emergency assistance and a donation to defray Vatican
            administrative expenses. But USCCB hid this distinction in its
            promotion, oversight, and administration of the Peters [sic]
            Pence collection in the United States.” Id. ¶ 36. He also
            maintains that if USCCB had disclosed the actual purposes for
            which the funds would be used, he would not have donated to
            the Collection. Id. ¶ 35. O’Connell does not allege that the
            church cannot use collected funds for particular purposes, such
            as for investments or overhead expenses – only that USCCB
            cannot misrepresent how the funds will be used. See Br. for
            Plaintiff-Appellee 5-6.

                 USCCB answered the complaint in July 2020. Shortly
            thereafter, O’Connell served document production requests.
            Those requests sought documents showing the Peter’s Pence
            promotional materials that USCCB created; lists of donors and
            amounts received; USCCB’s knowledge of how the funds
            would be used; and how the funds were used. The District
            Court has had no occasion to rule on these requests. There has
            been no discovery.

                 After answering the complaint, USCCB moved to dismiss
            for lack of subject matter jurisdiction and for judgment on the
            pleadings. USCCB argued that the complaint was barred by the
            church autonomy doctrine, which is grounded in the First
            Amendment and prevents civil courts from hearing matters of
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            church doctrine and internal governance. USCCB also argued
            that O’Connell had failed to adequately plead his claims.

                 The District Court denied USCCB’s motions in an oral
            ruling and minute order on November 17, 2023. Tr. of Hearing
            (Nov. 17, 2023). The court ruled that it had subject matter
            jurisdiction because, at least at this stage of the litigation,
            O’Connell’s claims raised a purely secular dispute involving
            affirmative misrepresentations and fraudulent omissions,
            which the District Court could resolve by applying “neutral
            principles of law.” Id. at 5-7. In other words, the District Court
            saw “no need” to “inquire into church operations, religious
            doctrine, religious hierarchy, or religious decisionmaking to
            evaluate the merits of [plaintiff’s] claim. Instead, this is a case
            about what defendant represented, what it knew, and the
            relationship between defendant and plaintiff as a putative class
            representative.” Id. at 6. As such, the District Court found that
            “at this stage, it’s not apparent . . . that the resolution of the
            claims will involve impermissible religious entanglement.” Id.
            at 7. Accordingly, it declined to dismiss the case on the basis
            of the church autonomy doctrine.

                 The District Court also took care to recognize the
            limitations imposed by the church autonomy doctrine. It made
            clear that it would not – and could not – answer purely religious
            questions, should they arise during litigation. Id. at 6. For
            example, the court would not and “could not rule that the
            church could only exercise its financial discretion in one way
            or another.” Id. The District Court made it clear, however, that
            it does not believe religious determinations are required for it
            “to determine, under straightforward common-law principles,
            whether or not fraud took place.” Id.

                In addition, the District Court denied USCCB’s motion for
            judgment on the pleadings because material disputes of fact
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            remained as to O’Connell’s claims. Id. at 7. It also concluded
            that O’Connell had adequately pleaded his claims.

                 USCCB timely appealed the District Court’s decision and
            advances three arguments on appeal. It argues that this court
            has jurisdiction over the interlocutory appeal; that O’Connell’s
            claims are barred by the church autonomy doctrine; and that
            O’Connell failed to adequately plead his claims. O’Connell, in
            turn, disagrees with each of these arguments.

               B. Legal Background

               This case primarily concerns two doctrines: the collateral
            order doctrine and the church autonomy doctrine.

                     1. Collateral Order Doctrine

                As noted above, the appellate jurisdiction of the federal
            courts of appeals is generally limited to “final decisions of the
            district courts of the United States.” 28 U.S.C. § 1291. A final
            decision is typically one that “ends the litigation on the merits
            and leaves nothing for the court to do but execute the
            judgment.” Catlin v. United States, 324 U.S. 229, 233 (1945).
            Known as the final decision rule, this limitation on the
            jurisdiction of federal appellate courts has long served an
            important purpose: It protects against piecemeal and premature
            review.

               As the Supreme Court has explained,

                     Congress from the very beginning has, by forbidding
                     piecemeal disposition on appeal . . . , set itself against
                     enfeebling judicial administration. Thereby is avoided
                     the obstruction . . . that would come from permitting the
                     harassment and cost of a succession of separate appeals
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                     . . . . To be effective, judicial administration must not
                     be leaden-footed.

            Cobbledick v. United States, 309 U.S. 323, 325 (1940). Beyond
            concerns of judicial economy, the final decision rule also
            “emphasizes the deference that appellate courts owe to the trial
            judge as the individual initially called upon to decide the many
            questions of law and fact that occur in the course of a trial.”
            Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 374
            (1981). It would be unwise for an appellate court to
            prematurely jump into the fray, without the benefit of the trial
            court’s rulings and with only the guidance of a partially
            developed record. Thus, as a fundamental principle of the
            federal courts system, the final decision rule does not
            accommodate exceptions for issues merely because they are
            important and deserving of attention. The exceptions to the rule
            that do exist are few and far between.

                 This case implicates one exception – the collateral order
            doctrine. “[A]n expansive interpretation of [section 1291’s]
            finality requirement” first announced in Cohen, the collateral
            order doctrine allows appeals “from orders characterized as
            final . . . even though it may be clear that they do not terminate
            the action or any part of it.” 15A CHARLES ALAN WRIGHT,
            ARTHUR R. MILLER, & EDWARD H. COOPER, FEDERAL
            PRACTICE AND PROCEDURE § 3911, Westlaw (database updated
            June 2024); see also Cohen, 337 U.S. at 545-46. This exception
            to the final decision rule is limited to a ‘‘narrow and selective’’
            class of orders that (1) are “effectively unreviewable on appeal
            from a final judgment”; (2) “conclusively determine the
            disputed question”; and (3) “resolve an important issue
            completely separate from the merits of the action.” Will, 546
            U.S. at 349-50 (internal quotation marks omitted); see also
            United States v. Trump, 88 F.4th 990, 1000 (D.C. Cir. 2023).
            These requirements are meant to be difficult to satisfy, as “the
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             narrow exception should stay that way and never be allowed to
             swallow the general rule that a party is entitled to a single
             appeal” after “final judgment has been entered.” Digit. Equip.
             Corp., 511 U.S. at 868 (internal quotation marks and citation
             omitted).

                   Over the years, the Supreme Court has provided the courts
             of appeals with general guideposts to follow when assessing
             these three stringent conditions. First, an order is “effectively
             unreviewable” where the “legal and practical value” of the
             asserted right “would be destroyed if it were not vindicated
             before trial.” Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 498-
             99 (1989) (internal quotation marks and citations omitted). As
             noted above, the fact that a ruling “may burden litigants in ways
             that are only imperfectly reparable by appellate reversal of a
             final district court judgment” is not sufficient. Mohawk Indus.,
             558 U.S. at 107 (citation omitted). Nor is it sufficient for
             litigants to rest on the importance of the asserted right when
             seeking interlocutory review. See id. at 108. Rather, “[t]he
             crucial question” is “whether deferring review until final
             judgment so imperils the interest [at stake] as to justify the cost
             of allowing immediate appeal of the entire class of relevant
             orders.” Id. Second, a conclusive determination is required. An
             order is conclusive when it is the “complete, formal, and, in the
             trial court, final rejection of” the issue. Abney v. United States,
             431 U.S. 651, 659 (1977). The decision must “not constitute
             merely a ‘step toward final disposition of the merits of the
             case.’” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 171 (1974)
             (quoting Cohen, 337 U.S. at 546). Finally, the order must
             involve a “claim[] of right separable from, and collateral to,
             rights asserted in the action.” Cohen, 337 U.S. at 546. Orders
             are “entwined with the merits” when “courts of appeals will
             often have to review the nature and content of” the merits to
             determine the issue on appeal. Richardson-Merrell, 472 U.S. at
             439. Although complete separation is not required, the asserted
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             interest on appeal must be “conceptually distinct.” Mitchell v.
             Forsyth, 472 U.S. 511, 527 (1985).

                  When assessing these three requirements of the collateral
             order rule, “we do not engage in an ‘individualized
             jurisdictional inquiry.’” Mohawk Indus., 558 U.S. at 107
             (citation omitted). “As long as the class of claims, taken as a
             whole, can be adequately vindicated by other means, the
             chance that the litigation at hand might be speeded, or a
             particular injustic[e] averted, does not provide a basis for
             jurisdiction under § 1291.” Id. (alteration in original) (internal
             quotation marks omitted). The question of whether an order is
             appealable is thus “determined for the entire category to which
             a claim belongs” rather than for individual cases. Digit. Equip.
             Corp., 511 U.S. at 868. For our purposes, the relevant category
             of orders involves denials of a pleading-stage motion to dismiss
             based on the church autonomy defense.

                   Front of mind when applying Cohen’s collateral order
             doctrine is the Supreme Court’s command that “the class of
             collaterally appealable orders . . . remain ‘narrow and selective
             in its membership.’” Mohawk Indus., 558 U.S. at 113 (quoting
             Will, 546 U.S. at 350). The Court’s admonition “reflects a
             healthy respect for the virtues of the final-judgment rule”:
             “Permitting piecemeal, prejudgment appeals . . . undermines
             efficient judicial administration and encroaches upon the
             prerogatives of district court judges, who play a special role in
             managing ongoing litigation.” Id. at 106 (internal quotation
             marks and citations omitted); see also Richardson-Merrell, 472
             U.S. at 436 (“[D]istrict judge[s] can better exercise [their]
             responsibility [to police the prejudgment tactics of litigants] if
             the appellate courts do not repeatedly intervene to second-
             guess prejudgment rulings.”).
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                  As mentioned earlier, an interlocutory appeal “risks
             additional, and unnecessary, appellate court work either when
             it presents appellate courts with less developed records or when
             it brings them appeals that, had the trial simply proceeded,
             would have turned out to be unnecessary.” Johnson v. Jones,
             515 U.S. 304, 309 (1995). Too many interlocutory appeals can
             thus cause serious harm and, as such, they “are the exception,
             not the rule.” Id.

                  Accordingly, the Supreme Court has rarely extended the
             collateral order doctrine to cover new categories. Indeed, there
             are presently less than ten categories of orders falling under the
             collateral order doctrine – none of which are applicable to this
             case. See Belya v. Kapral, 45 F.4th 621, 629 n.5 (2d Cir. 2022)
             (collecting cases); see, e.g., Abney, 431 U.S. at 659 (orders
             denying a criminal defendant’s claim of double jeopardy);
             Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982) (orders denying
             a public official’s claim of absolute immunity); P.R. Aqueduct
             & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 144-45
             (1993) (orders denying a state’s claim of Eleventh Amendment
             immunity).

                  Moreover, Congress has authorized the Supreme Court to
             promulgate rules “defin[ing] when a ruling of a district court is
             final for the purposes of appeal under [28 U.S.C. § 1291].” 28
             U.S.C. § 2072(c). “Congress’ designation of the rulemaking
             process as the way to define or refine when a district court
             ruling is ‘final’ and when an interlocutory order is appealable
             warrants the Judiciary’s full respect.” Swint, 514 U.S. at 48.
             Thus, as the Supreme Court has made clear, rulemaking, rather
             than expansion by court decision, is “the preferred means for
             determining whether and when prejudgment orders should be
             immediately appealable.” Mohawk Indus., 558 U.S. at 113. As
             relevant here, the Supreme Court has not promulgated any rules
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             that would grant this court appellate jurisdiction over a district
             court’s pleading-stage denial of the church autonomy defense.

                     2. Church Autonomy Doctrine

                  The church autonomy doctrine derives from the Religion
             Clauses of the First Amendment. Church autonomy protects
             against government interference in “matters of faith and
             doctrine and in closely linked matters of internal government.”
             Our Lady of Guadalupe Sch. v. Morrissey-Berru, 591 U.S. 732,
             747 (2020). Accordingly, secular courts may not interpret
             religious law or wade into religious disputes. See Serbian E.
             Orthodox Diocese for the U.S. & Can. v. Milivojevich, 426 U.S.
             696, 708-09 (1976); see also Korte v. Sebelius, 735 F.3d 654,
             677 (7th Cir. 2013) (noting that secular courts must “respect[]
             [religious institutions’] autonomy to shape their own missions,
             conduct their own ministries, and generally govern themselves
             in accordance with their own doctrines as religious
             institutions”). The First Amendment also protects against
             employment discrimination claims brought by ministers
             against their religious employers. See Hosanna-Tabor
             Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171,
             190 (2012). This protection is known as the ministerial
             exception, a narrower offshoot of the broader church autonomy
             doctrine. See Our Lady of Guadalupe, 591 U.S. at 747.

                 These protections afforded by the First Amendment do not
             grant religious institutions a general immunity from secular
             laws. See id. at 746. Courts may adjudicate secular disputes
             involving religious institutions where resolution of the case
             does not require inquiry into doctrinal disputes. See Jones v.
             Wolf, 443 U.S. 595, 602-04 (1979) (holding that courts may
             apply neutral principles of law to resolve church property
             disputes); see also Huntsman v. Corp. of the President of the
             Church of Jesus Christ of Latter-Day Saints, 127 F.4th 784,
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             792 (9th Cir. 2025) (en banc) (“Because nothing in our analysis
             of [plaintiff’s] fraud claims delves into matters of Church
             doctrine or policy, our decision in this case does not run afoul
             of the church autonomy doctrine.”). So long as a court relies
             “exclusively on objective, well-established [legal] concepts,”
             or neutral principles of law, it steers clear of any violations of
             the church autonomy doctrine. Jones, 443 U.S. at 603; see, e.g.,
             McRaney v. N. Am. Mission Bd. of the S. Baptist Convention,
             Inc., 966 F.3d 346, 349 (5th Cir. 2020) (allowing claims of
             defamation, intentional infliction of emotional distress, and
             intentional interference that “ask[] the court to apply neutral
             principles of tort law to a case that, on the face of the complaint,
             involves a civil rather than religious dispute”).

                  As this court has twice made clear, the neutral principles
             approach “permits a court to interpret provisions of religious
             documents involving . . . nondoctrinal matters as long as the
             analysis can be done in purely secular terms.” Minker v. Balt.
             Ann. Conf. of United Methodist Church, 894 F.2d 1354, 1358
             (D.C. Cir. 1990); see EEOC v. Cath. Univ. of Am., 83 F.3d 455,
             466 (D.C. Cir. 1996) (same). “Thus, simply having a religious
             association on one side of the ‘v’ does not automatically mean
             a district court must dismiss the case or limit discovery.” Belya,
             45 F.4th at 630.

                                       II. ANALYSIS

                  The threshold issue in this case is whether this court has
             jurisdiction, pursuant to the collateral order doctrine, to address
             USCCB’s challenge to the District Court’s pleading-stage
             denial of its church autonomy defense. We do not.
             Accordingly, we dismiss the appeal and remand the case to the
             District Court for further proceedings. We do not reach the
             merits of USCCB’s church autonomy claims, nor do we
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             consider USCCB’s argument that O’Connell’s complaint fails
             to state a claim.

                A. Standard of Review

                We determine de novo whether this court may properly
             exercise jurisdiction over this interlocutory appeal.

                B. This Court Has No Jurisdiction to Entertain
                   Appellant’s Interlocutory Appeal

                  As explained at the outset of this opinion, collateral order
             appeals are permissible only in a very small number of cases
             that involve decisions that are conclusive, resolve important
             questions separate from the merits, and are effectively
             unreviewable on appeal from the final judgment in the
             underlying action. Swint, 514 U.S. at 42. USCCB’s
             interlocutory appeal to challenge the District Court’s order
             denying its motion to dismiss based on the church autonomy
             doctrine does not satisfy these rigid requirements. The most
             obvious impediment to USCCB’s action is that it can get
             effective review under 28 U.S.C. § 1291 if the District Court
             issues a final decision against it. USCCB seeks to protect the
             right of the church to manage its own non-secular affairs free
             from governmental interference. This is not a right that will be
             destroyed if not vindicated before trial.

                  Our determination that the right to church autonomy is
             effectively reviewable upon appeal is well-supported by
             existing caselaw. Every circuit to have considered this issue has
             ruled that district court determinations regarding disputes over
             the church autonomy defense are properly reviewed upon post-
             judgment appeal, not pursuant to the collateral order doctrine.
             See Garrick v. Moody Bible Inst., 95 F.4th 1104, 1117 (7th Cir.
             2024), reh’g en banc denied, No. 21-2683, 2024 WL 1892433
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             (7th Cir. Apr. 30, 2024); Belya, 45 F.4th at 634, reh’g en banc
             denied, 59 F.4th 570 (2d Cir. 2023), cert. denied sub nom.
             Synod of Bishops of the Russian Orthodox Church Outside of
             Russ. v. Belya, 143 S. Ct. 2609 (2023); Tucker v. Faith Bible
             Chapel Int’l, 36 F.4th 1021, 1036 (10th Cir. 2022), reh’g en
             banc denied, 53 F.4th 620 (10th Cir. 2022), cert. denied, 143
             S. Ct. 2608 (2023); Herx v. Diocese of Fort Wayne-South Bend,
             Inc., 772 F.3d 1085, 1091-92 (7th Cir. 2014); Klein v. Oved,
             No. 23-14105, 2024 WL 1092324, at *1 (11th Cir. Mar. 13,
             2024). We find the unanimity of our sister circuits on this
             question to be notable and their reasoning persuasive.

                  It is also notable that the Supreme Court has repeatedly
             “insisted that” a collateral order appeal may not be pursued
             unless “the right asserted [will be] essentially destroyed if its
             vindication must be postponed until trial is completed.” Lauro
             Lines s.r.l., 490 U.S. at 499. The possibility that a district court
             ruling before a final decision “may be erroneous and may
             impose additional litigation expense is not sufficient to set
             aside the finality requirement.” Richardson-Merrell, 472 U.S.
             at 436. In this case, USCCB has suggested that the value of the
             church’s rights will be seriously diminished if this court does
             not review and overturn the District Court’s pleading-stage
             denial of its motion to dismiss based on a church autonomy
             defense. This claim has been rejected by all of the courts that
             have addressed the matter in other cases. See, e.g., Belya, 45
             F.4th at 633; Garrick, 95 F.4th at 1117; Tucker, 36 F.4th at
             1036; Herx, 772 F.3d at 1091-92.

                  The point is that it does not matter that litigation may
             impose some burdens on a party before a final decision issues.
             This is insufficient to justify immediate review. In Mohawk
             Industries, for example, the Supreme Court recognized that,
             during trial, parties may be ordered to disclose privileged
             information that intrudes on the confidentiality of attorney-
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             client communications. 558 U.S. at 109. Despite the burden of
             having to produce such information, the Court nevertheless
             concluded that post-judgment appeals “suffice” to protect the
             rights of the litigants. Id. A showing that a party may be
             burdened by having to comply with the final decision rule is
             not proof that the party’s contested rights will be destroyed. See
             Digit. Equip. Corp., 511 U.S. at 871-72.

                  Furthermore, if we were to allow collateral appeals to
             function as an escape valve from adjudicative burdens – or if
             any potential burden on the right at stake were enough to justify
             immediate review – then the collateral order exception would
             expand to swallow the rule. See id. at 868. Church autonomy is
             not the only area in which adjudication may by itself pose a
             significant cost. The same concern exists for orders on personal
             jurisdiction, statutes of limitation, claim preclusion, and the
             right to a speedy trial, to list a few examples. We would risk a
             dramatic expansion of the collateral order doctrine by hinging
             it on concerns of encumbrance – and expansion of the collateral
             order doctrine is precisely the outcome the Supreme Court has
             consistently rejected. The Court has been quite clear in saying
             that the final decision rule may not be bypassed in favor of
             collateral order review merely because it “may impose
             significant hardship on litigants.” Richardson-Merrell, 472
             U.S. at 440.

                  In addition, district courts have ample tools at their
             disposal to limit discovery, tailor jury instructions, and dismiss
             claims as necessary to safeguard against infringements of the
             church autonomy doctrine. See, e.g., Garrick, 95 F.4th at 1117.
             And “[w]hen a case can be resolved by applying well-
             established law to secular components of a dispute, such
             resolution by a secular court presents no infringement upon a
             religious association's independence.” Belya, 45 F.4th at 630.
             If infringements nevertheless occur, then litigants, once armed
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             with a final decision, can seek relief through the standard
             review process. See Gordon Coll. v. DeWeese-Boyd, 142 S. Ct.
             952, 955 (2022) (Alito, J., concurring) (agreeing that nothing
             “would preclude [defendant] from . . . seeking review . . . when
             the decision is actually final” (citation omitted)).

                  Moreover, the Supreme Court has reminded us “that
             litigants confronted with a particularly injurious or novel
             [adverse] ruling have several potential avenues of review apart
             from collateral order appeal.” Mohawk Indus., 558 U.S. at 110.
             Although post-judgment appeals are the norm, a litigant who is
             faced with an adverse church autonomy ruling can ask the
             district court to certify, and the court of appeals to accept, an
             interlocutory appeal pursuant to 28 U.S.C. § 1292(b). Section
             1292 review requires “a controlling question of law as to which
             there is substantial ground for difference of opinion and that an
             immediate appeal from the order may materially advance the
             ultimate termination of the litigation.” 28 U.S.C. § 1292(b).
             The church-defendant in Demkovich v. St. Andrew the Apostle
             Parish, Calumet City pursued this approach and successfully
             availed itself of immediate review. 3 F.4th 968, 974 (7th Cir.
             2021).

                  Litigants can also petition the courts of appeals for a writ
             of mandamus under 28 U.S.C. § 1651 when a disputed order
             “amount[s] to a judicial usurpation of power or a clear abuse of
             discretion” or otherwise works a manifest injustice. Cheney v.
             U.S. Dist. Ct. for D.C., 542 U.S. 367, 390 (2004) (internal
             quotation marks and citations omitted); Mohawk Indus., 558
             U.S. at 111.

                  The Supreme Court has said that these case-specific
             mechanisms provide “‘safety valve[s]’ for promptly correcting
             serious errors” and “will continue to provide adequate
             protection to litigants” in the absence of collateral order
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             appeals. Mohawk Indus., 558 U.S. at 111, 114 (alteration in
             original) (quoting Digit. Equip. Corp., 511 U.S. at 883). And
             they do so without incidentally creating an entire category of
             immediately appealable orders. USCCB has not sought section
             1292 review or a writ of mandamus in this case, so we need not
             address the viability of any such claims here.

                  Our decision to abide by the final decision rule, even when
             an admittedly important right is at stake, is utterly
             unexceptional. The Supreme Court and this court have
             “routinely require[d] litigants to wait until after final judgment
             to vindicate valuable rights.” Mohawk Indus., 558 U.S. at 108-
             09; see, e.g., Flanagan v. United States, 465 U.S. 259, 262-63,
             270 (1984) (Sixth Amendment right to effective assistance of
             counsel); United States v. MacDonald, 435 U.S. 850, 856-57
             (1978) (Sixth Amendment right to speedy trial); Mohawk
             Indus., 558 U.S. at 114 (attorney-client privilege); Doe v.
             Exxon Mobil Corp., 473 F.3d 345, 348 (D.C. Cir. 2007)
             (political question doctrine). Like these other interests, the
             interest of a church in its religious autonomy is undoubtedly
             important, but deferring review until final judgment does not
             so imperil the interest as to justify the cost of allowing
             immediate appeal of an entire class of relevant orders.

                C. Church Autonomy Functions as a Defense to
                   Liability, Not an Immunity from Suit

                  USCCB argues that the church autonomy doctrine
             “protects not only from the consequences of litigation’s results
             but also from the burden of defending from suit.” Opening Br.
             of Defendant-Appellant 20 (internal quotation marks and
             citation omitted). It argues that post-trial review of an order
             denying such protection is insufficient to vindicate the
             constitutional rights at stake. In other words, in an effort to
             avoid the applicable strictures of the final decision rule,
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             USCCB attempts to characterize the church autonomy doctrine
             as a right not to be tried, i.e., as an immunity from suit rather
             than a defense to liability. The church autonomy doctrine,
             however, does not confer immunity from trial such that
             immediate review is warranted.

                  No federal court has ever held that the church autonomy
             doctrine establishes a constitutional right to immunity from suit
             in cases concerning secular claims. Quite the contrary. Several
             circuits have explicitly declined to characterize church
             autonomy as an immunity from trial. See Garrick, 95 F.4th at
             1116 (rejecting argument that the church autonomy doctrine
             confers “immunity from trial”); Herx, 772 F.3d at 1090
             (rejecting argument that the First Amendment “provides an
             immunity from trial, as opposed to an ordinary defense to
             liability”); Tucker, 36 F.4th at 1025 (rejecting “novel argument
             that the ‘ministerial exception’ . . . immunizes religious
             employers altogether from the burdens of even having to
             litigate such claims”); Klein, 2024 WL 1092324, at *1 (church-
             autonomy doctrine “does not immunize religious groups or
             figures from suit”). As the Second Circuit has explained,
             “[w]hen a case can be resolved by applying well-established
             law to secular components of a dispute, such resolution by a
             secular court presents no infringement upon a religious
             association’s independence.” Belya, 45 F.4th at 630.

                  Put simply, if a plaintiff can plausibly assert a secular
             claim capable of resolution according to neutral principles of
             law, the First Amendment does not bar judicial examination of
             that claim. The church autonomy doctrine protects against
             judicial interference in ecclesiastical matters; it does not
             provide religious organizations with a blanket immunity from
             suit, discovery, or trial.
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                  Treating church autonomy as a defense rather than an
             immunity is also consistent with Supreme Court precedent. In
             Hosanna-Tabor, the Supreme Court made clear that the
             ministerial exception “operates as an affirmative defense to an
             otherwise cognizable claim, not a jurisdictional bar.” 565 U.S.
             at 195 n.4. Even though Hosanna-Tabor concerned the
             ministerial exception, the Supreme Court has since recognized
             the exception as a mere “component” of the church autonomy
             doctrine. See Our Lady of Guadalupe, 591 U.S. at 746. Thus,
             when the two decisions are considered together, it seems clear
             that the Court confirmed the church autonomy doctrine is not
             jurisdictional; it is an affirmative defense. And, like any other
             defense, a defense based on church autonomy can be
             adequately addressed after trial.

                D. The Cases Cited by USCCB Do Not Change the Legal
                   Landscape

                  Despite the mountain of precedent against its position,
             USCCB argues that there is caselaw that supports its view in
             favor of collateral order appeals of church autonomy orders.
             We disagree. The cases cited by USCCB clearly do not change
             the result in this case.

                  First, USCCB cites Whole Woman’s Health v. Smith,
             where the Fifth Circuit allowed an interlocutory appeal of an
             order enforcing a subpoena against a third-party religious
             organization. 896 F.3d 362 (5th Cir. 2018). A key distinction,
             however, exists between Whole Woman’s Health and this case:
             There, the Fifth Circuit rested its decision on “the predicament
             of third parties” who “cannot benefit directly from [post-trial]
             relief.” Id. at 367-68. As the Seventh Circuit explained in
             Garrick, when distinguishing Whole Woman’s Health, “[a]n
             order conclusively determining that a nonparty religious
             organization must be subjected to extensive discovery . . . is
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             not comparable to the class of order at issue here.” 95 F.4th at
             1116 n.9 (emphasis added). At issue here – and in Garrick – is
             a class of orders concerning a party to the litigation capable of
             benefiting directly from a post-judgment appeal. Accordingly,
             Whole Woman’s Health is inapposite to the issue at hand.

                  Second, USCCB cites McCarthy v. Fuller, 714 F.3d 971
             (7th Cir. 2013). In McCarthy, a United States representative of
             the Holy See, the central governing body of the Roman
             Catholic Church, issued a declaration that Fuller was not a nun
             or religious sister. 714 F.3d at 973-74. Nevertheless, the district
             court planned to instruct the jury to determine whether Fuller
             was a nun in good standing with the Catholic Church. Id. at
             976. In light of these facts, the Seventh Circuit held in
             McCarthy that the order “requir[ing] a jury to answer a
             religious question” was immediately appealable. Id.

                  However, as the Seventh Circuit later explained in
             Garrick, “[t]he circumstances [in McCarthy] were remarkably
             extreme—the judge had determined that the jury’s judgment
             could preempt that of the Holy See on a decidedly doctrinal
             question, in clear violation of church autonomy.” 95 F.4th at
             1113-14. The Seventh Circuit also made it clear that
             “McCarthy did not create a new category subjecting denials of
             a church autonomy defense to immediate appeal.” Id. at 1114.

                  Third, USCCB argues that “this Court has ‘long allowed’
             interlocutory appeal of ‘alleged injur[ies] [sic] to First
             Amendment rights during the pendency of a case.’” Opening
             Br. of Defendant-Appellant 20 (quoting In re Stone, 940 F.3d
             1332, 1340-41 (D.C. Cir. 2019)). According to USCCB,
             infringing First Amendment rights for even minimal periods of
             time results in irreparable harm. As such, an appeal filed after
             a time-consuming trial is not an effective remedy. Our
             precedent, however, has never gone so far as to say that a mere
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             alleged violation of the First Amendment is sufficient for
             collateral order appeal.

                   In each of the cases cited by USCCB, this court indicated
             that an interlocutory appeal would be permissible only because
             there was a dispute over an order restricting speech during the
             pendency of the case. See Trump, 88 F.4th at 1001; In re Stone,
             940 F.3d at 1340; In re Rafferty, 864 F.2d 151, 154 (D.C. Cir.
             1988); see also Marceaux v. Lafayette City-Parish Consol.
             Gov’t, 731 F.3d 488, 490-91 (5th Cir. 2013). In these cases
             involving orders restricting speech, waiting for post-judgment
             review would have effectively defeated the right to any review
             at all. By the time judgment was entered, the party complaining
             would have already lost its right to speak while the case was
             pending. We have no such scenario in this case.

                  USCCB also cites a similar case, Roman Catholic Diocese
             of Brooklyn v. Cuomo, 592 U.S. 14 (2020), which concerned a
             district court’s denial of a preliminary injunction. Even though
             the order did not involve a restriction on speech, it did involve
             a restriction on the ability of the faithful to attend religious
             services during the pendency of litigation – a right that could
             not be restored after trial. No such restriction on speech or
             religious practice is present in this case to justify interlocutory
             review. Furthermore, the courts of appeals have jurisdiction
             under 28 U.S.C. § 1292(a)(1) to address interlocutory appeals
             challenging the issuance of a preliminary injunction by a
             district court. The District Court in this case has not issued an
             injunction against USCCB.

                  Fourth, USCCB cites some cases in which we have noted
             that there is an “immediate harm arising from the process of
             inquiry into religious disputes.” Br. of Defendant-Appellant 21
             (citing Cath. Univ. of Am., 83 F.3d at 466-67; Univ. of Great
             Falls v. NLRB, 278 F.3d 1335, 1341-43 (D.C. Cir. 2002);
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             Duquesne Univ. of the Holy Spirit v. NLRB, 947 F.3d 824, 829-
             30 (D.C. Cir. 2020)). Importantly, none of these cases involved
             an application of the collateral order doctrine. Rather, all three
             cases involved an appeal after a final decision had been issued.
             None of the cited cases even suggests that “harm arising from
             the process of inquiry into religious disputes” warrants
             immediate review. Br. of Defendant-Appellant 21.

                  Finally, USCCB argues that its “specific First Amendment
             rights imperiled here are structural protections akin to the
             separation of powers, which have long received interlocutory
             review.” Opening Br. of Defendant-Appellant 22. Even if we
             were to accept USCCB’s claim that church autonomy is a
             structural protection, “[m]ost separation-of-power claims are
             clearly not in [the] category” of collaterally appealable orders.
             United States v. Cisneros, 169 F.3d 763, 769 (D.C. Cir. 1999).

                  In Cisneros, a former Secretary of Housing and Urban
             Development argued that “the very conduct of the trial” against
             him would “violate the separation of powers by causing the
             courts to invade the exclusive constitutional province of
             coordinate branches.” Id. Like Cisneros, USCCB makes a
             separation-of-powers claim to avoid trial. Such reliance on the
             separation of powers, however, was not enough in Cisneros
             and it is not enough here. This court held in Cisneros that
             “[n]othing Cisneros argue[d] amount[ed] to a right not to be
             tried.” Id. “Cisneros, like any criminal defendant, may raise
             separation of powers as a defense. But it scarcely follows that
             whenever a defendant relies on the separation-of-powers
             doctrine, the defendant’s right must be treated as if it rested on
             an explicit guarantee that trial will not occur.” Id. (cleaned up)
             (internal quotation marks and citation omitted). In other words,
             invoking separation of powers is not enough to transform a
             defense into an immunity. Rather, any “constitutional affront”
             to the separation of powers “flowing from an adjudication”
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             would be “fully reviewable on appeal should the defendant be
             convicted.” Id. Thus, even assuming a violation of the church
             autonomy doctrine is akin to a violation of the separation of
             powers, that violation can be reviewed upon post-judgment
             appeal.

                  To conclude, the federal courts of appeals – and the
             Supreme Court – routinely reject parties’ efforts to invoke the
             collateral order doctrine for a wide variety of important rights.
             And each circuit that has considered extending the collateral
             order doctrine to cover the right to church autonomy has
             declined. We join our sister circuits in doing the same: Claims
             regarding the right to church autonomy are reviewable upon
             final judgment and, accordingly, not subject to collateral order
             appeal. And, as explained above, should extreme
             circumstances arise where immediate relief is required,
             litigants have alternative appellate options at their disposal.

                 E. Final Considerations

                  We have already made the point that a pleading-stage
             denial of the church autonomy defense is clearly reviewable
             upon final judgment. This holding is sufficient to decide this
             case. However, lest the point be missed, it is important to note
             that a pleading-stage denial also lacks the conclusiveness
             required for collateral order appeal. This case remains at the
             earliest stages of litigation with many more steps before the
             finish line. USCCB can continue to assert the church autonomy
             defense during discovery, in future dispositive motions, before
             trial, and during trial. The contested District Court order
             therefore is not “conclusive” because it is not a “final rejection”
             of USCCB’s asserted church autonomy defense. Indeed, for an
             order to conclusively determine the issue, there must be “no
             further steps that can be taken in the District Court to avoid”
             infringing on USCCB’s religious autonomy. Mitchell, 472 U.S.
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             at 527 (internal quotation marks omitted). Here, it is possible
             that at some later stage, USCCB’s church autonomy defense
             may require limiting the scope of the suit or the extent of
             discovery, or even warrant dismissal of the suit in its entirety;
             these are “further steps” that remain available to the District
             Court to safeguard against First Amendment violations.

                   USCCB argues that collateral order review is warranted
             because the District Court “conclusively determined
             . . . whether USCCB may be compelled to defend on the
             merits.” Opening Br. of Defendant-Appellant 24. The
             defendants in Belya made the same argument before the
             Second Circuit: “[T]heir claim is that the district court’s orders
             are the final decision on whether discovery can proceed; thus,
             Defendants contend, the orders constitute a final rejection.” 45
             F.4th at 631 (internal quotation marks omitted). Our sister
             circuit rejected that argument in Belya, and we do so here as
             well.

                  USCCB cites Process & Industrial Developments Ltd. v.
             Federal Republic of Nigeria, 962 F.3d 576 (D.C. Cir. 2020), in
             support of its position that it has a right to collateral order
             review to ensure that it will not be required to go through
             discovery. This decision is inapposite because it involves the
             application of foreign sovereign immunity. Id. at 581. Unlike
             the church autonomy doctrine, questions of sovereign
             immunity have long been held by the Supreme Court and this
             court to be immediately appealable. See, e.g., P.R. Aqueduct,
             506 U.S. at 147; Foremost–McKesson, Inc. v. Islamic Republic
             of Iran, 905 F.2d 438, 443 (D.C. Cir. 1990). As we have
             explained, however, pleading-stage denials of a church
             autonomy defense do not satisfy the requirements of the
             collateral order doctrine.
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                                   III. CONCLUSION

                  Because USCCB’s appeal falls outside of the collateral
             order doctrine’s narrow and selective class of claims subject to
             interlocutory review, we dismiss the appeal for lack of
             jurisdiction without reaching the merits of USCCB’s church
             autonomy defense or USCCB’s argument that O’Connell failed
             to state a claim.

                                                                 So ordered.
